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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA,                                           1:22-cr-00525-NRM-CLP
                                    Plaintiff,
         -against-
                                                                    NOTICE OF APPEARANCE

ANTON NAPOLSKY, et. al.
                                    Defendants,
-------------------------------------------------------------X

        PLEASE TAKE NOTICE that having been admitted pro hac vice in the above-captioned

matter, I, Maria Temkin, Esq. I appear in this case as counsel for Defendant, Valeriia Ermakova.

        Please direct all future correspondence and ECF notifications to the undersigned at the

address set forth below.

                                                             Respectfully submitted,

Dated: July 12, 2023                                         TEMKIN & ASSOCIATES, LLC




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                                                             Attorney for Defendant Valeriia Ermakova

CC:     Clerk of the Court (by ECF)
        All Counsel of Record (By ECF)
